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                                                                                                      U.S. DISTRICT COURT
                                                                                                          N.D. OF ALABAMA
1983 Form


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                                                                      CHi-Hm-s


(Enter above the full name(s) of the
plaintiff(s) in this action.)

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       i AL.
(Enter ove full name(s) of the
defendant(s) in this action)


I.   Previous lawsuits

     A.   Have you begun other lawsuits in state or federal court(s) dealing with the same facj!l involved
          in this action or otherwise relating to your imprisonment?    Yes ()        No      (..-r
     B.   If your answer to A. is "yes", describe each lawsuit in the space below. (If there is more
          than one lawsuit, describe the additional lawsuit(s) on another piece of paper, using the same
          outline.)

          1.   Parties to this previous lawsuit

                                                       /ViA
               Plaintiff(s): _ _ _ _ _ _ _ _ _....:.....:>.)~---------------

               Defendant(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

          2.   Court (if Federal Court, name the district; if State Court, name the county)

                                                       ;J/A
          3.   Docket Number                               ~     ..

          4.   Name of judge to whom case was assigned     1"--______________
            5,    Disposition (for example: Was the case dismissed? Was it appealed? Is it still pending?




            6,    Approximate date of filing lawsuit       '---i---------------­
            7,    Approximate date of disposition        ,~,   _ _--I'--__________ ______

II. . Place of present confinement _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       A.   Is there a prisoner gri'?'lnce procedun1in this institution? /.l
            Yes ()        No (..r' f.1i!d. Il\tt~dl6rlt ~t(/f'W\

       B,   Did you present the fa9Jelating to your complaint in the state prisoner grievance procedure?
            Yes ()      No ( ..y­

       c,   If your answer is YES:

            1.    What steps did you take? - - ' c : ! . . j ' r - - - - - - - - - - - - - - - - - - - ­



            2,    What was the result? _ _ _ _--\-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




       0,   If you r answer is NO. explai n why not? __""-,,,,,,,_--","':-'_.L.,;-'-!::::..J.i:L.::""-'-'-_-"-"-''''''''t-_-.


            ~~L~_ _ _ __
III.   Parties
       In item A below, place your name(s) in the first blank and place your present address in the
       second blank. Do the same for additional plaintiffs, if aoy.

       A    Name of plaintiff(s)     ~'f "Dt:len",~"-"",f;::..:)t,-,Sm"",,,,!..!.,~--,-,-_ _ _ _ _ _ _ _ __



            Address5Q5            fJl:!h ittJ)e- I             l3o#D+ r lJ{"             3FH3'-1
                         '3t00 fuGLlZt'GJ'1. IU:morf:/ At.. 3(..503

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      In Item B below, place the full name of the defendant in the first blank, his official position in
      the second blank, and his place of employment in the third blank. Use Item C for the names,
      positions, and places of employment of any additional defendants.

      B.    Defendant   UEblCJQ;1   5,Y}l~'1 k\\':,~' S~1
            is employed as   ~AJ1.!l!t~M ~
            at   ~            em. ("f}e;
      C.                      t»ild·e£:: ~y) ""'fl3ftl.J:1lce fI'J. ~'Y'I f ttlIJL~::J,
            Additional Defendants

            G'~}' r{)fft<ftA Af t://Y1.fJi (jro./iJt,. I /.J!IbaJ b.. $lt/ell) fJrm, i74it:#...
           1:¥t: fwbb, ;;.gt. !11~Om/l)dlto/~. (JI+1UC£ ~/tJn:;CIJC
           0ll~         ,oj- ~o/fI!'1     #.~..Jk-fvrJ,
IV.   Statement of Claim

      State here, as briefly as possible, the FACTS of your case. Describe how each defendant is involved.
      Include, also, the names of other persons involved, dates and places. 9J..nd?<-uhp4pd"'Y'_""d4
      """C&_ cn.>;"4 "'~... If you intend to allege a number of related claims, number and set forth
      each claim in a separate paragraph. Use as much space as you need. Attach extra sheets, if necessary.

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V.     RELIEF

       State briefly ~ what you want the court to do for you. Make no legal arguments. Cite no
       cases or statu es.




       _ ..._ _ - - - - - - - - - - - - - - - - - - - - - - ­
                 ...




       "I declare under penalty of perjury that the foregoing is true and correct.

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                                            _ _· · · _




                                   (date)       .




                                                               Ignature(s)

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                        IN THE UNITED. STATES DISTRICT COtJRT FOR THE
                               SOUTHERN DISTRICT OF ALA.BA.1yfA

                                     PRISONER COM.:PLAL'i'T
                            [FOR INMATE ACTION] IDtDER 42 U.S.C. § 1983

       l~ Darf¥I/5droid
       N           der which you were convicted

        257169
       Your prison number
                                                      Cl:\lIT, ACTION NO.
       YS.                                            (To be supplied by Clerk of Court)

         A Doc marl: 11.0 0            otU Pr.f,ott-S
       Name ofDefenrlant(sj

                                                    ilL
                                              J$O(?)'!" 365Q5
       Place of Confinement and Address


                                      INSTRUCTIONS - READ CAREFULLY

      A. ComDlaint FOrnl. You must file your original complaint and a copy for each named Defendant.
      Your complaint must be clearly handwritten' cir typewritten. Do not use the back oia page, Your
      complaint must be signed by you; no notary is required. bnv false statement of material f~tmav
      serve asfue basis for proseeutio-n far llerJurv.

      B. -Pr;;;~~'C;~ 'Y6~~a~pi;;:~t'~~-;niyb;-~roughtt;tiiiS-CoUrt1fa defenctffit'iS loc'atedm the"
      Southern District of Alaba:ma and the rest of the defendants are loeated in Alaba.'UB. or if your claim
      aroselrithiS district. TheSout1:ieriJ. bistrictofAlaoamals cOmprised cinte fcillowhigcounties:
      Baldwin, Clar1):e, Choctaw, Conecuh, Dallas, Escambia, Hale, Marengo, Mobile, Monroe, Perry,
      Wasl1ington, and Wilcox.

      C.Sellarate CaSe. It isrieceSS3.1-Y tome aseparateCompraint foim [or each claim UJ.-lless the c1iims
      are Yi>Iated to the same mciaent or issue,

      D, Defendants. The persons Who are listed as defendants in section mof the complaint are deemed
      by the Court to be the onlY'defendants to this actioll, A defendant's present address must be previded.
      The COUJ.""i: is unable to serve process without the present address bebg furnished. The DJst defendant
      listed in sectien ill should be the defend3.J."ltthat you list in the style ofyour case on your corr.plaillt
      fOrm and motion to proceed withoutprepayment offees andcosts', rfapplicable, 8.-'1d anyotber


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